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                    9                            UNITED STATES DISTRICT COURT
                   10                        CENTRAL DISTRICT OF CALIFORNIA
                   11
                        JOHN DOE, an individual,                   Case No. CV18-09178-SVVV (JEMx)
                   12
                                    Plaintiff,                    DEFENDANT HUNT'S NOTICE OF
                   13                                             JOINDER AND JOINDER TO
                              v.                                  CALIFORNIA INSTITUTE OF
                   14                                             TECHNOLOGY'S MOTION TO
                        CALIFORNIA INSTITUTE OF                   DISMISS PLAINTIFF'S FIRST
                   15   TECHNOLOGY, a nonprofit                   AMENDED COMPLAINT PURSUANT
                        corporation, and DOES 1-20, inclusive,    TO FED. R. CIV. PROC. 12(B)(1) AND
                   16                                             12(B)(6)
                                    Defendants.                    Date:        TBD—Under Submission
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                                                                   Time:        TBD—Under Submission
                   18                                              Place:       Courtroom 10A

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                                                                   Complaint Filed: October 25, 2018
                   20                                              Trial Date:      None
                                                                   District Judge: Hon. Stephen V. Wilson
                   21                                                               Courtroom 10A, First St.
                                                                   Magistrate Judge:Hon. John E. McDermott
                   22                                                               Courtroom 640, Roybal

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                                                                                 Case No. CV18-09178-SVW (JEMx)
3753952 I_2.docx             DEFENDANT HUNT'S NOTICE OF JOINDER AND JOINDER TO CALIFORNIA INSTITUTE OF
                               TECHNOLOGY'S MOTION TO DISMISS PLAINTIFF'S FIRST AMENDED COMPLAINT
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                   1          TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF
                   2   RECORD:
                   3          PLEASE TAKE NOTICE THAT defendant Dr. Felicia Hunt ("Hunt") will and
                   4   hereby does join in California Institute of Technology's motion to dismiss Plaintiff's
                   5   First Amended Complaint ("FAC") with prejudice pursuant to Federal Rules of Civil
                   6   Procedure 12(b)(1) and 12(b)(6), filed in the United States District Court for the
                   7   Central District of California on January 22, 2019 (the "Motion") (Docket No. 24), as
                   8   well as its reply brief filed in the United States District Court for the Central District
                   9   of California on February 11, 2019 ("Reply") (Docket No. 30).1
                  10         Hunt joins the Motion for all the reasons set forth in the Motion, its
                  11   accompanying memorandum of points and authorities, all supporting documents, and
                  12   the Reply, pursuant to Federal Rules of Civil Procedure, rules 12(b)(1) and 12(b)(6)
                  13   for failure to state a claim upon which relief can be granted and on the grounds that
                  14   this Court lacks jurisdiction over this case, and follows the conference of counsel
                  15   pursuant to Local Rule 7-3, which began on December 7, 2018. (See Declaration of
                  16   Vanessa Krumbein filed concurrently with the Motion on January 22, 2019.)
                  17         Specifically, as described in Caltech's motion to dismiss, taken under
                  18   submission by the Court, the FAC fails in its entirety because Plaintiff failed to seek
                  19   judicial exhaustion by first challenging the disciplinary action through a writ of
                  20   mandamus in state court before initiating a federal court action—Plaintiff's exclusive
                  21   remedy under the facts alleged in his FAC. See Cal. Code Civ. Proc. § 1094.5; see also
                  22   Doe v. Regents of the Univ. of California, 891 F.3d 1147, 1155 (2018) Moreover,
                  23   Plaintiff's claim against Caltech's Title IX coordinator, Dr. Felicia Hunt ("Hunt"),
                  24   sued in her official capacity for a violation of 42 U.S.C. § 1983, fails as discussed in
                  25   the Motion and Reply because state action has not been (and cannot be) sufficiently
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                       I This Joinder serves as Hunt's responsive pleading to Plaintiff's First Amended
                  28   Complaint.
                                                                  1               Case No. CV18-09178-SVW (JEMx)
3753952I_2.docx              DEFENDANT HUNT'S NOTICE OF JOINDER AND JOINDER TO CALIFORNIA INSTITUTE OF
                               TECHNOLOGY'S MOTION TO DISMISS PLAINTIFF'S FIRST AMENDED COMPLAINT
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                   1   pled—a jurisdictional requisite for bringing such a claim.
                   2         Based on her joinder to the Motion and Reply and the arguments contained
                   3   therein, Hunt also respectfully moves this court to dismiss the claim against her.
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                   5   DATED: April 3, 2019                   OGLETREE, DEAKINS, NASH, SMOAK &
                                                              STEWART, P.C.
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                   8                                          By: /s/ Vanessa C. Krumbein
                                                                  Stuart D. Tochner
                   9                                              Vanessa C. Krumbein
                  10                                          Attorneys for Defendants
                                                              CALIFORNIA INSTITUTE OF
                  11                                          TECHNOLOGY and
                                                              DR. FELICIA HUNT
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                                                                 2               Case No. CV18-09178-SVW (JEMx)
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                               TECHNOLOGY'S MOTION TO DISMISS PLAINTIFF'S FIRST AMENDED COMPLAINT
